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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

  CREIGHTON TAKATA, individually and on         Case No. 18-cv-2293 (FLW) (ZNQ)
  behalf of all others similarly situated,
       Plaintiff,                                          Oral Argument Requested
        v.
  RIOT BLOCKCHAIN, INC. F/K/A, BIOPTIX,           DEFENDANT MARK GROUSSMAN'S
  INC., JOHN O'ROURKE, JEFFREY G.                  MEMORANDUM OF POINTS AND
  MCGONEGAL, BARRY HONIG,                          AUTHORITY IN SUPPORT OF HIS
  CATHERINE DEFRANCESCO, MICHAEL                     MOTION TO DISMISS LEAD
  BEEGHLEY, JOHN STETSON, MARK                       PLAINTIFF'S CORRECTED
  GROUSSMAN, ANDREW KAPLAN, MIKE                  CONSOLIDATED AMENDED CLASS
  DAI, JASON LES and ERIC SO,                          ACTION COMPLAINT
       Defendants.



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         Defendant Mark Groussman submits this memorandum of law in support of his Motion to

  Dismiss the Consolidated Amended Class Action Complaint ("Amended Complaint" or "AC")

  filed by Lead Plaintiff Dr. Stanley Golovac ("Plaintiff") pursuant to Federal Rules of Civil

  Procedure 12(b)(6) and 9(b), and the Private Securities Litigation Reform Act of 1995, 15 U.S.C.

  § 78u–4(b) ("PSLRA")

  I.     INTRODUCTION

         The gravamen of the Amended Complaint concerns the purported orchestration by

  Defendant Barry Honig, an individual investor who never acquired more than a minority stake in

  Riot Blockchain, Inc. ("Riot" or the "Company"), of a vast, secret conspiracy to artificially inflate

  Riot's stock price and profit from fraudulent "related-party" cross-border transactions. Plaintiff's

  efforts to sweep Groussman – another individual investor who was never an employee, director,

  or officer at Riot – into this alleged international conspiracy fails. The Amended Complaint is

  entirely devoid of allegations that Groussman knew about, intentionally participated in, or assisted

  in Honig's alleged stock manipulation scheme or the "related-party" transactions Plaintiff has

  attempted to sketch out. The absence of any relevant allegations against Groussman is striking,

  given that Plaintiff has had more than 14 months since this action was commenced to research,

  investigate, and perfect the allegations in the Amended Complaint.

         The Amended Complaint – the fourth operative complaint filed in this action – tars
  Groussman with guilt by association, and nothing more. In his excessively prolix 440-paragraph

  Amended Complaint, Plaintiff devotes less than ten paragraphs to describing Groussman's

  purported activities in connection with Riot. Plaintiff rests his sole claim against Groussman,

  Count II for scheme liability under Rule 10b(5)-(a) and (c), on irrelevant, inflammatory

  background allegations about Groussman's prior investment history with Honig in companies that

  have nothing to do with Riot. As to Riot, Plaintiff does not allege a single fact to suggest that

  Groussman agreed to coordinate trades with Honig's alleged "group," took direction from Honig

  in trading Riot shares, engaged in any manipulative trading or promotional activities to influence




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  Riot's stock price, or attempted to influence Riot's management. As a result, Plaintiff fails to

  plausibly allege that Groussman knowingly or intentionally participated in any manipulative stock

  scheme, that there was ever any agreement (by anyone) to act together for the purpose of acquiring,

  holding, voting or disposing of Riot's stock, or that there was even a "group" for Groussman to

  join.

          To establish a violation under Rule 10b(5)-(a) or (c), a complaint must plead, in addition

  to all the other essential elements of a 10b-5 claim: (1) what manipulative acts were performed;

  (2) which defendants performed them; (3) when the manipulative acts were performed; and (4)

  what effect the scheme had on the market for the securities at issue.             Rather than plead
  particularized allegations in support of these required elements, Plaintiff can only allege that

  Groussman: (1) sold shares of Riot's common stock; (2) was a passive investor in two other

  companies with which Riot dealt; and (3) issued a Schedule 13G disclosing his beneficial

  ownership in Riot during the class period. The Amended Complaint does not even attempt to tie

  these acts to the alleged manipulation scheme and, in any event, none could support liability under

  Rule 10b-5(a) or (c).

          The trading activity described by Plaintiff – of seeking to sell Riot shares to the public, and

  selling those shares, over the course of nearly a year as Riot's stock declined with the crash of

  Bitcoin – is entirely unremarkable.1 As to any alleged "related-party" transactions, even if it were

  true that Groussman was a passive investor in two companies with which Riot did business, the

  Amended Complaint fails to explain how that alleged fact would constitute a "manipulative" or

  "deceptive" act by Groussman inflating Riot's stock price. Plaintiff does not allege that Groussman

  orchestrated or otherwise influenced Riot's business dealings with those two companies. Nor does

  Plaintiff allege that Groussman had any role in drafting Riot's press releases and SEC filings

  describing those transactions.     Finally, the Schedule 13G accurately disclosed Groussman's


  1
   As set forth in the Motion to Dismiss filed by Honig (Dkt. No. 118-1), there is a strong positive
  correlation between Riot's stock – which offers investors "pure play" exposure to cryptocurrencies
  – and the price of Bitcoin. Indeed, between October 3, 2017 and September 6, 2018, Riot and
  Bitcoin moved virtually in lockstep. See Dkt. No. 118-1 at 1.



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  holdings and confirmed – as is one the functions of a Schedule 13G – that Groussman did not

  acquire his shares in Riot as part of an attempt to take over or otherwise control the Company.

  Plaintiff does not – and cannot – allege that Groussman ever attempted to exercise a takeover of

  Riot or ever engaged in any way with Company management. Therefore, Plaintiff cannot plead

  that Groussman was disqualified from filing a Schedule 13G, or that anything in that document

  constituted a misrepresentation.

         Unable to even plead a "deceptive" or "manipulative" act by Groussman, the Amended

  Complaint predictably also falls short of adequately pleading several other essential elements of a

  Rule 10b-5 claim. Plaintiff fails to plead the requisite "strong inference" of scienter, as the
  Amended Complaint does not so much as mention Groussman's intent. Even if it did, there is no

  plausible inference of scienter to draw based on the unremarkable and perfectly legal trading

  history alleged by Plaintiff. In an effort to establish reliance, the Amended Complaint specifically

  invokes two doctrines that allow presumptions of reliance when there has been a material

  misrepresentation or omission. As Groussman is not alleged to have made any representations

  other than a fully accurate Schedule 13G, those doctrines have no applicability to him. Finally,

  Plaintiff also fails to plead loss causation. None of the purported corrective disclosures alleged by

  Plaintiff – primarily media reports discussing already known facts about the Company – have

  anything to do with Groussman, his trading activity, or his alleged ownership in other companies.

         For all these reasons, as set forth in further detail below,2 the Amended Complaint should

  be dismissed. Given that the Amended Complaint is the fourth separate complaint filed in this

  action, and Plaintiff has had more than a year to investigate his claims and perfect his allegations,

  such dismissal should be with prejudice.




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   Groussman joins and incorporates herein the arguments made by Defendants Riot, Barry Honig,
  Catherine DeFrancesco, Andrew Kaplan, Eric So, and Jason Less in support of their Motions to
  Dismiss. See Dkt. Nos. 107-1, 108-1, 112-1, and 118-1.



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  II.    FACTUAL AND PROCEDURAL BACKGROUND

         A.      The Parties

         Riot is a publicly-traded corporation on NASDAQ that supports and operates blockchain

  technologies. Amended Complaint ¶ 21. Plaintiff made his initial purchase of Riot stock on

  December 19, 2017, purchased and sold various amounts of Riot stock over the next several

  months, and sold all of his holdings in Riot by February 23, 2018. See Dkt. No. 17-2 (Ex. C). The

  putative "Class" consists of "all purchasers of the common stock of Riot, between April 20, 2017,

  and September 6, 2018, inclusive." Amended Complaint ¶ 1.

         Plaintiff has sued certain of Riot's former officers and directors. Defendant Michael

  Beeghley was Riot's Chairman and CEO from April 2017 until November 3, 2017, leaving the

  Company before Plaintiff ever invested in Riot. Amended Complaint ¶ 25. Defendant John

  O'Rourke was Riot's Chairman and CEO from November 3, 2017 until September 8, 2018. Id. ¶

  23. 67. Defendant Jeffrey McGonegal was Riot's CFO from 2003 to February 28, 2018. Id. ¶ 30.

  Defendants Andrew Kaplan, Eric So, and Jason Les are former or current directors in the

  Company.

         In addition to these officers and directors, Plaintiff has named as Defendants several

  individual investors in the Company who were never officers, directors, or employees, and who

  never held more than a minority stake in Riot. Defendant Barry Honig first acquired a position in
  Riot in 2016 when it was a biomedical company called Venaxis, Inc. ("Venaxis"). Amended

  Complaint ¶¶ 22, 47, 130. Plaintiff alleges that, as Riot transitioned from a failing medical research

  business to a provider of blockchain technologies, Honig led a group of investors, including

  Defendants Catherine DeFrancesco and John Stestson, into acquiring a minority stake in the

  Company. Plaintiff alleges that these individuals – which Plaintiff calls the "Honig Group" – then,

  via "manipulative" trading strategies that the Amended Complaint never identifies or explains,

  somehow inflated the price of Riot shares. Finally, Plaintiff alleges that the "Honig Group" then




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  sold their holdings as Riot's stock began to fall with the crash in cryptocurrencies in early 2018.

  See Amended Complaint ¶¶ 138, 140, 163-64, 432.

          In Plaintiff's effort to detail that largely unremarkable trading history over 440 paragraphs

  and 159 pages, the Amended Complaint barely mentions Groussman. Plaintiff alleges that

  Groussman had acquired – at some unidentified point in time – a non-controlling stake in Riot and

  slowly sold that stake over the course of nearly a year. See Amended Complaint ¶¶ 144, 154, 164.

  According to Plaintiff, Groussman listed shares for sale as early as April 2017 (id. ¶ 144), and had

  fully sold off his holdings in Riot by February of 2018 – again, around the time that

  cryptocurrencies had crashed. Id. ¶ 164; see also Dkt. No. 118-1 at 1. Besides describing an
  alleged trading history of Riot stock that does not in any way suggest market manipulation, the

  Amended Complaint identifies no conduct by Groussman specific to Riot other than: (1) his

  signing of a routine Schedule 13G "short form" disclosing his stake in the Company; and (2)

  Groussman's small stake in Coinsquare Ltd. ("Coinsquare"), a company in which Riot had

  invested. Amended Complaint ¶¶ 167, 180.

          The only representation Plaintiff alleges Groussman to have made is a perfunctory

  certification in the Schedule 13G that he did not acquire his stake in Riot in an effort to "chang[e]

  or influenc[e] the control" of the Company. Id. ¶¶ 179-80. As Groussman made no effort to

  engage in a takeover of the Company or otherwise assume control of it – and Plaintiff himself

  alleges no such efforts by Groussman – nothing about the Schedule 13G was in any way false.

  Thus, Plaintiff does not allege that Groussman was disqualified from filing a Form 13G and was

  instead required to file a Form 13D to reveal any purported involvement in a "control group." Nor

  does Plaintiff allege that Groussman ever attempted to conceal his prior relationship with Honig,

  or his trading in Riot.

          While Plaintiff presumably is attempting to sweep Groussman into the so-called "Honig

  Group," the Amended Complaint does not allege that Groussman coordinated his trading in Riot

  with Honig, does not allege that Groussman traded Riot stock at Honig's instructions, does not




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  allege that Groussman engaged in promotional activities to drive up the price of Riot stock, and

  does not allege that Honig and Groussman engaged in any concerted activity in any way related to

  Riot. In fact, rather than alleging how Groussman was part of any purported "control group," the

  Amended Complaint devotes more paragraphs purporting to detail Groussman's activities outside

  of Riot, alleging that Groussman "has a long history of investing" in the same companies as Honig.

  Amended Complaint ¶¶ 80, 105-06, 123, 180.

            B.     Riot's Pivot To Blockchain Technologies

            Originally called Venaxis, Riot began in the early 2000s as a biomedical company,

  attempting to develop a blood test for use in the diagnosis and treatment of acute appendicitis.

  Amended Complaint ¶ 128. It never achieved success in that field and, after having burned through

  tens of millions of dollars in cash with virtually no revenue,3 in 2015 the FDA declared that the

  Company's blood test did not meet or exceed the current standard of care, leaving it with no viable

  product. Id. ¶ 129. As the Company searched for a new business model, in September 2016,

  Honig and DeFrancesco wrote a letter to the Company's then-CEO, Stephen Lundy, "touting their

  combined 16.2%" stake and expressing their dissatisfaction with the Company's direction. Id. ¶¶

  131, 134. In late 2016, Honig initiated a proxy fight, and filed a lawsuit to force a shareholder

  meeting. Id. ¶¶ 135, 137. Three of the Company's directors resigned in early January 2017, (id. ¶

  137), replaced by Defendants Beeghley, O'Rourke and Dai. Id. ¶¶ 25, 29, 137. In April of 2017,

  Lundy resigned as CEO and was replaced by Beeghley. Id. ¶ 25. The Amended Complaint does

  not allege that Groussman participated in any way in the proxy fight, held stock in the Company

  during this period, or ever had prior dealings (or even knew) Beeghley, Dai, or DeFrancesco.

            While the Company had neither a product nor revenue, it did have "plenty of cash" from a

  $20 million stock offering in 2014. Amended Complaint ¶¶ 4-5. With no viable path forward as

  a biomedical company, the Company explored various strategic alternatives. On October 4, 2017,

  as cryptocurrencies like Bitcoin began to gain traction, the Company announced that it would pivot


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      See Dkt. No. 118-3 (Venaxis Form 10-K for the year ended Dec. 31, 2015, at p. 23).



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  its business to blockchain and cryptocurrency technologies.         Id. ¶ 166.    The Company

  simultaneously announced that it was changing its name to "Riot Blockchain" to reflect its new

  business focus. Id. The Company stated that it would pursue its new strategy for building

  shareholder value and future prospects by pursuing "acquisitions of businesses serving the

  blockchain ecosystem." Id. The Company then did precisely that, using a portion of its cash

  holdings and stock to acquire or invest in companies in the blockchain space and to purchase

  computer equipment necessary to perform Bitcoin mining. See Amended Complaint ¶¶ 166, 169,

  182, 172, 194, 197 278.

         The Amended Complaint does not allege that Groussman played any role in the Company's
  change in name to Riot or transition to blockchain and cryptocurrency, or in Riot's decision to

  invest in or acquire other companies and Bitcoin mining equipment. Indeed, the Amended

  Complaint does not allege that Groussman was involved in any decision-making as to Riot's

  business, or even communicated with management.

         C.      Plaintiff Attempts To Plead An Alleged Stock Manipulation Scheme That Does

                 Not In Any Way Involve Groussman

         The Amended Complaint purports to plead a scheme to "drive up the price and trading

  volume of Riot stock through manipulative trading, promotional activity, and false and misleading

  disclosures," Amended Complaint ¶ 1, to "engage in fraudulent related-party transactions at the

  expense of the Company and its shareholders," id., and to "dump their shares into the artificially

  inflated market on unsuspecting retail investors." Amended Complaint ¶¶ 1, 11. Groussman's

  alleged role in this purported scheme is non-existent. The Amended Complaint alleges that, far

  from "dumping" his shares, Groussman slowly sold shares over the course of nearly a year. See

  id. ¶¶ 144, 164. The only alleged representation by Groussman is, as noted, a Schedule 13G

  accurately disclosing his investment in Riot and that he had no intention to engage in a takeover

  or otherwise control the Company. There are no allegations that Groussman coordinated trading

  with Honig or other investors, orchestrated transactions or engaged in promotional activities to




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  artificially drive up the price of Riot stock, attempted to conceal his investment in Riot, or any of

  the other hallmarks of a stock manipulation scheme.

         The only purported "related-party" transactions alleged in the Amended Complaint that

  even remotely involve Groussman are the company's dealings with Coinsquare, "a leading

  Canadian Blockchain company," and Kairos Global Technology Inc. ("Kairos"), a provider of

  Bitcoin mining equipment from Kairos. Amended Complaint ¶¶ 37, 166, 172. Neither alleged

  transaction supports a 10b-5 scheme liability claim against Groussman. In October of 2017, Riot

  announced that it had acquired a minority interest in Coinsquare, in which Plaintiff alleges

  Groussman to be a minority investor. Id. ¶ 166. In November of 2017, Riot announced that it had
  acquired 1,200 Bitcoin mining machines from Kairos. Id. ¶ 172. Plaintiff does not directly allege

  that Groussman had any involvement or investment in Kairos, but only that he was "reportedly"

  an owner, citing a website called "sharesleuth." that, in turn, provides no citation for the claim that

  Groussman ever invested in Kairos. Id. ¶ 173.

         While purporting to describe these alleged transactions, the Amended Complaint nowhere

  explains how they might provide a basis for 10b-5 liability against Groussman. Plaintiff does not

  allege that Groussman made any misrepresentation regarding the transactions, or had any

  disclosure obligations with respect to those transactions. Instead, Plaintiff alleges that Riot, in its

  various press releases and SEC filings, failed to disclose that shareholders in Riot were also

  shareholders in Coinsquare and Kairos. Amended Complaint ¶¶ 167, 173. Plaintiff does not and

  cannot allege that Groussman had any role in drafting any of those press releases or SEC filings.

         D.      Procedural History

         The Amended Complaint is this action's fourth operative complaint. Creighton Takata

  filed the original complaint on February 17, 2018 ("Takata Action"), which named Riot,

  McGonegal, and O'Rourke as Defendants. Dkt. No. 1. On November 6, 2018, this Court

  consolidated the Takata Action with a separate action filed on April 18, 2018 by Joseph J. Klapper,

  Jr. (Dkt. No. 1, 18-cv-8031), and appointed Dr. Stanley Golovac as lead plaintiff. Dkt. No. 39.




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  On January 15, 2019, Plaintiff filed a Consolidated Class Action Complaint (Consolidated

  Complaint) adding Honig as a Defendant. Dkt. No. 52. On March 28, 2019, the Defendants to

  the Consolidated Complaint filed motions to dismiss. Dkt. Nos. 66. 67. Rather than oppose those

  motions, on April 18, 2019, Plaintiff sought, and was granted, leave to file another amended

  complaint. Dkt. No. 69. The Court granted Plaintiff's request and ordered that another amended

  complaint be filed no later than May 8, 2019. Text Order dated April 24, 2019.

          Plaintiff filed the Amended Complaint on May 8, 2019, adding additional Defendants,

  including Groussman. Dkt. Nos. 72, 73. Groussman is a Defendant only as to Count II, which

  attempts to plead a claim for scheme liability under Rules 10b-5(a) and 10b-5(c).

  III.    LEGAL STANDARD

          To survive a motion to dismiss, a complaint must satisfy Rule 8(a) by stating a claim for

  relief that is plausible on its face. Fed. R. Civ. P. 8(a); Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

  "Where a complaint pleads facts that are 'merely consistent with' a defendant's liability, it 'stops

  short of the line between possibility and plausibility of entitlement to relief.'" Iqbal, 556 U.S. at

  678 (citation omitted). Furthermore, "[t]hreadbare recitals of the elements of a cause of action,

  supported by mere conclusory statements, do not suffice." Id. (citation omitted). Although the

  Court must accept factual allegations as true, this tenet is "inapplicable to legal conclusions."

  Iqbal, 556 U.S. at 678. After stripping away the "conclusory statements," the court must rely on

  its "judicial experience and common sense," id. at 679, to determine whether the remaining factual

  allegations "raise a right to relief above the speculative level." Bell Atl. Corp. v. Twombly, 550

  U.S. 544, 555 (2007); Fed. R. Civ. P. 8(a). A complaint that fails as a matter of law should be

  dismissed "at the point of minimum expenditure of time and money by the parties and the court."

  Twombly, 550 U.S. at 558 (citation and internal quotation marks omitted).

          Because Plaintiff's allegations sound in fraud, each alleged misrepresentation, and each

  alleged act of deception or manipulation, must also meet the heightened pleading standards of Rule

  9(b), which requires Plaintiff to, among other things, identify each actor and explain why each act




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  by that individual was fraudulent, deceptive, or manipulative. Fed. R. Civ. P. 9(b); In re

  Rockefeller Ctr. Props., Inc. Sec. Litig., 311 F.3d 198, 217 (3d Cir. 2002). Plaintiff's claim is also

  subject to the heightened pleading standard of the PSLRA, which is targeted at preventing abusive

  securities litigation. See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 313 (2007)

  ("Private securities fraud actions . . . if not adequately contained, can be employed abusively to

  impose substantial costs on companies and individuals whose conduct conforms to the law.");

  Merrill Lynch, Pierce, Fenner & Smith Inc. v. Dabit, 547 U.S. 71, 81 (2006) (identifying "ways in

  which the class-action device was being used to injure the entire U.S. economy" and listing

  examples such as "nuisance filings, targeting of deep-pocket defendants, vexatious discovery

  requests, and manipulation by class action lawyers of the clients whom they purportedly represent

  . . .") (quotes and citations omitted).

          The PSLRA's heightened pleading standard has two distinct requirements. First, under 15

  U.S.C. § 78u-4(b)(1), the complaint must "specify each allegedly misleading statement, why the

  statement was misleading, and, if an allegation is made on information and belief, all facts

  supporting that belief with particularity." Winer Family Trust v. Queen, 503 F.3d 319, 326 (3d

  Cir. 2007) (construing 15 U.S.C. § 78u-4(b)(1)). Second, the complaint must, "with respect to

  each act or omission alleged to violate this chapter, state with particularity facts giving rise to a

  strong inference that the defendant acted with the required state of mind." 15 U.S.C. § 78u-4(b)(2).

  IV.     ARGUMENT

          Plaintiff's sole claim against Groussman is under Section 10(b) and Rule 10b-5, for

  allegedly engaging in a "scheme" to manipulate Riot's stock price. Rules 10b-5(a) and (c) provide:

  "It shall be unlawful . . . (a) to employ any device, scheme, or artifice to defraud, . . . [ or] (c)

  engage in any act, practice, or course of business which operates or would operate as a fraud or

  deceit upon any person." 17 C.F.R. §§ 240.10b-5(a), (c). To state a valid claim under Rule 10b-

  5(a) or (c), the plaintiff must allege that the defendant "committed a deceptive or manipulative

  act," in addition to the standard elements of a Section 10(b) violation: (1) scienter; (2) connection




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  with the purchase or sale of securities; (3) reliance; (4) economic loss; and (5) loss causation. SEC

  v. Lucent Techs., Inc., 610 F. Supp. 342, 350 (D.N.J. 2009); Stoneridge Inv. Partners, LLC v. Sci.-

  Atlanta, 552 U.S. 148, 158 (2008). Plaintiff fails to adequately plead the vast majority of these

  elements.

          A.      Plaintiff Fails To Allege That Groussman Engaged In A "Deceptive Or

                  Manipulative" Act

          Grouping every single Defendant together without distinction, Plaintiff offers sweeping

  allegations that "Defendants carried out a plan, scheme, and course of conduct" to "enable Riot to
  artificially inflate the price of the Company's common stock." Amended Complaint ¶ 432. To

  satisfy Rule 9(b), however, a fraud claim based on alleged market manipulation must set forth "to

  the extent possible, [1] what manipulative acts were performed, [2] which defendants performed

  them, [3] when the manipulative acts were performed, and [4] what effect the scheme had on the

  market for the securities at issue." In re Able Labs. Sec. Litig., 2008 U.S. Dist. LEXIS 23538, *73

  (D.N.J. 2008). Where, as here, a complaint asserts claims against more than one defendant, Rule

  9(b) "require[s] plaintiffs to differentiate their allegations . . . and inform each defendant separately

  of the allegations surrounding his alleged participation in the fraud." Dolan v. PHL Variable Ins.

  Co., 2016 U.S. Dist. LEXIS 161414, *15 (M.D. Penn. 2016).

          The Complaint contains no particularized allegations that Groussman performed any

  manipulative or deceptive acts in connection with the alleged stock manipulation scheme. Instead,

  the Amended Complaint contains background allegations that: (1) Groussman sold shares of Riot's

  common stock; (2) was a passive investor in two other companies with which Riot dealt; and (3)

  filed a Schedule 13G that accurately and fully reflected Groussman's holdings in Riot during the

  class period. The Amended Complaint does not even attempt to tie these acts to the alleges scheme

  and, in any event, none of these acts could support liability under Rule 10b-5(a) or (c).




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         1.        Plaintiff Does Not Allege Groussman Misrepresented Or Omitted Any Material

                   Fact

         Claims brought under Rule 10b-5(a) and (c) are referred to as "scheme liability" claims,

  because they "make deceptive conduct actionable, as opposed to . . . deceptive statements." In re

  DVI, Inc. Sec. Litig., 639 F.3d 623, 643 n.29 (3d Cir. 2011) (emphasis added). Thus courts in the

  Third and other Circuits generally premise scheme liability on misconduct separate from

  misrepresentations and omissions violating Rule 10b-5(b). See Stichting Pensioenfonds ABP v.

  Merck & Co., No. 05-5060, 2012 U.S. Dist. LEXIS 113813, at *25 (D.N.J. Aug. 1, 2012) ("scheme

  liability claim cannot, however, be premised on the alleged misrepresentations or omissions that
  form the basis of a Rule 10b-5(b) claim"); Pub. Pension Fund Grp. v. KV Pharma. Co., 679 F.3d

  972, 987 (8th Cir. 2012) ("We join the Second and Ninth Circuits in recognizing a scheme liability

  claim must be based on conduct beyond misrepresentations or omissions actionable under Rule

  10b-5(b)."). As such, under existing Third Circuit precedent, any effort by Plaintiff to predicate

  scheme liability on an alleged misrepresentation by Groussman fails as a matter of law.

         Recently, in Lorenzo v. SEC, 139 S. Ct. 1094 (2019), the Supreme Court held that "[t]hose

  who disseminate false statements . . . are primarily liable under Rules 10b-5(a) and (c), § 10(b), .

  . . even if they are secondarily liable under Rule 10b-5(b)." Id. at 1104. Even assuming the

  Supreme Court's ruling in SEC v. Lorenzo abrogated the requirement that scheme liability must be

  predicated on conduct apart from 10b-5(b) misrepresentations,4 the only alleged statement Plaintiff

  attributes to Groussman is contained in the October 13, 2017 Schedule 13G disclosing

  Groussman's beneficial ownership of 5.93% of Riot common stock. Nothing about that statement

  is misleading.



  4
   As set forth in the Motion to Dismiss filed by Riot (Dkt. No. 107-1), Lorenzo had no occasion to
  resolve – and did not resolve – the extent to which a misrepresentation can serve as a basis for
  scheme liability when a private plaintiff fails to adequately allege actionable misrepresentations or
  omissions. Dkt. No. 107-1 at 28. Because Plaintiff fails to allege particularized allegations of a
  purported misrepresentation by Groussman – or that any such misrepresentation was made in
  connection with a "scheme" to inflate Riot's stock – any reliance by Plaintiff on Lorenzo would be
  misplaced.



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            Under the Exchange Act, stockholders who own more than 5% of an issuer's shares must

  report their ownership on a Schedule 13D or 13G. See 17 C.F.R. § 240.13d-1(a)-(c). Schedule

  13D is the standard form, and is designed to "requir[e] the disclosure of information by a potential

  takeover bidder." Morales v. Quintel Entm't, Inc., 249 F.3d 115, 122-23 (2d Cir. 2001). Schedule

  13G, by contrast, is a short-form version of Schedule 13D available to investors who did not

  acquire the securities to "chang[e] or influenc[e] the control of the issuer." 17 CFR 240.13d-1(b)-

  (c). Thus, as the SEC has explained, a Schedule 13G is the proper form when the investor's

  involvement is limited to "[e]ngagement on corporate governance topics," but it is inappropriate

  if the investor "engages with the issuer's management on matters that specifically call for the sale

  of the issuer to another company, the sale of a significant amount of the issuer's assets, the

  restructuring of the issuer, or a contested election of directors." SEC, Exchange Act Sections 13(d)

  and 13(g) and Regulation 13D-G Beneficial Ownership Reporting (July 14, 2016).5

            The statement Plaintiff attributes to Groussman is merely the advisory statement commonly

  found in all Schedule 13Gs – that the securities "were not acquired and are not held for the purpose

  of or with the effect of changing or influencing the control of the issuer of the securities and were

  not acquired and are not held in connection with or as a participant in any transaction having that

  purpose or effect." Amended Complaint ¶¶ 179-80. Plaintiff does not allege that Groussman

  acquired shares in Riot as part of a takeover bid; that Groussman was intending to engage with
  management on matters calling for the sale or restructuring of the company; that he was required

  to instead file a Schedule 13D; or that the boilerplate certification set forth in the Schedule 13G

  was otherwise false or misleading in any way.

            Nor can Plaintiff make such allegations, given Plaintiff's contention that Honig had already

  "obtained control" of Riot by March of 2017 (Amended Complaint ¶¶ 138-39) and replaced its

  CEO in April of 2017 (id. ¶ 142), several months before Groussman filed the Schedule 13G.

  Further, any allegation that Groussman was somehow attempting to engineer a takeover or

  otherwise gain control of Riot in October of 2017 would not be credible in light of Plaintiff's

  5
      Available at https://www.sec.gov/divisions/corpfin/guidance/reg13d-interp.htm#103.11.



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  allegations that Groussman was, between April and September of 2017, actually trying to sell

  hundreds of thousands of shares in Riot. Amended Complaint ¶¶ 143-44, 146, 154-55.

         While Plaintiff vaguely alleges that Groussman sought to "dispel any notion" that his

  ownership in Riot was part of a "control group" (Amended Complaint ¶ 179), Plaintiff adds no

  factual allegations explaining what that "control group" was, what actions it carried out with

  respect to Riot's business or stock, how Groussman was in any way involved with the group, what

  actions Groussman took, or that Groussman was in any way involved in Riot's business.

  Significantly, Plaintiff fails to allege that Groussman participated in the management of Riot, was

  involved in its day-to-day operations, was privy to the Company's proprietary, confidential
  information, or otherwise exercised a scintilla of control or influence over the Company. See

  Amended Complaint ¶ 378. The most Plaintiff can allege is that Groussman had a "close financial

  relationship" and "history of investing" with Honig. Id. ¶ 180. But Plaintiff fails to explain how

  Groussman would have had any obligation to disclose that alleged history (which did not involve

  Riot) to investors. Section 10(b) and Rule 10b-5 "do not create an affirmative duty to disclose any

  and all material information." Williams v. Globus Medical, Inc., 869 F.3d 235, 241 (3d Cir. 2017).

         2.      Groussman's Publicly-Disclosed Trading In Riot Does Not Constitute A

                 "Deceptive" or "Manipulative" Act

         To state a scheme liability claim based on allegations that multiple defendants collectively

  acted, Plaintiff must show that each defendant committed a manipulative or deceptive act in

  furtherance of the scheme. Central Bank of Denver v. First Interstate Bank of Denver, 511 U.S.

  164, 191 (1994). There is no private "aiding and abetting" or "conspiracy" liability under § 10(b)

  of the Securities and Exchange Act, or Rule 10b-5 promulgated thereunder. See Central Bank,

  511 U.S. at 191. Accordingly, Groussman may only be liable as a primary actor; meaning Plaintiff

  must plead that Groussman committed a deceptive or manipulative act in furtherance of the

  scheme upon which Plaintiff relied. See Stoneridge, 552 U.S. at 639-40. As claims of fraud, these




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  allegations are also subject to the heightened pleading requirements of Rule 9(b). United States

  SEC v. Wey, 246 F. Supp. 3d 894, 916 (S.D.N.Y. 2017).

         Plaintiff alleges neither deception nor manipulation. "[D]eception, at a minimum, has to

  involve an act that gives the victims a false impression." Lucent, 610 F. Supp. 2d at 360 (citing

  United States v. Finnerty, 533 F.3d 143, 148 (2d Cir. 2008)). "Manipulation" by contrast, is

  "virtually a term of art when used in connection with securities markets.'" Santa Fe Indus., Inc. v.

  Green, 430 U.S. 462, 476 (1977). The term refers to "practices, such as wash sales, matched

  orders, or rigged prices, that are intended to mislead investors by artificially affecting market

  activity.'" Rabin v. NASDAQ OMX PHLX LLC, 712 Fed. Appx. 188, 193 n.7 (3d Cir. 2017).

         The only trading in which Groussman is alleged to have engaged is the slow disposition of

  his holdings in Riot over the course of nearly a year. There is nothing inherently deceptive or

  manipulative in selling common stock in the open market, and Plaintiff does not allege that

  Groussman concealed trades, coordinated his trades with other Defendants, misrepresented

  anything regarding his trading, or engaged in trades in a way that otherwise artificially altered

  Riot's stock price. See GFL Advantage Fund, Ltd. v. Colkitt, 272 F.3d 189, 207 (3d Cir. 2001)

  (manipulation involves "artificially depressing or inflating the price of the security"). Nor were

  Grossman's stock sales in any way deceptive, particularly where, as here, Plaintiff alleges that his

  trading was public knowledge. See Amended Complaint ¶¶ 144, 154, 164.

         "Participation in a legitimate transaction, which does not have a deceptive purpose or

  effect, would not allow for a primary violation even if the defendant knew or intended that another

  party would manipulate the transaction to effectuate a fraud." See In re Charter Commc'ns, Inc.,

  Sec. Litig., 443 F.3d 987, 992 (8th Cir. 2006) (refusing to impose primary liability "on a business

  that entered into [a] . . . transaction with an entity that then used the transaction to publish false

  and misleading statements to its investors and analysts"); In re Parmalat Sec. Litig., 376 F. Supp.

  2d 472, 505 (S.D.N.Y. 2005) ("At worst, the banks designed and entered into the transactions

  knowing or even intending that Parmalat or its auditors would misrepresent the nature of the




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  arrangements. That is, they substantially assisted fraud with culpable knowledge – in other words,

  they aided and abetted it."). Groussman's unremarkable – and fully disclosed – trading history in

  Riot does not constitute a "manipulative" or "deceptive" act, and is not a primary violation of the

  securities laws.

         3.      The Coinsquare And Kairos Transactions Are Not Actionable Against Groussman

                 Under 10-b5

         To the extent Plaintiff purports to rely on the Coinsquare and Kairos transactions – and the

  Amended Complaint nowhere suggests that Groussman is subject to liability for them – Plaintiff
  does not allege that Groussman had any actual role in those transactions, other than as a passive

  investor. Plaintiff does not allege Groussman exercised control or influence over whether those

  transactions were completed, nor any role in drafting the press releases and SEC filings describing

  those transactions. Plaintiff thus fails to allege that Groussman – in being an alleged passive

  investor in Coinsquare and Kairos – engaged in any "'act, scheme, or course of conduct' to defraud

  investors." See Kemp v. Univ. Am. Fin. Corp., 2007 WL 86942, at *17 (S.D.N.Y. Jan. 10, 2007).

  Indeed, Plaintiff does not even allege that the Coinsquare and Kairos transactions were carried out

  in furtherance of the alleged stock manipulation scheme.

         Rather than allege any deceptive or manipulative conduct that would support a Section

  10(b) claim, the Amended Complaint merely states that "[t]he various elements of Defendants'

  scheme are laid out in detail in Section V." Amended Complaint ¶ 432. Section V of the Amended

  Complaint is one paragraph vaguely defining the "Honig Group" as shareholders in Riot that had

  a "material relationship" with Honig. Id. ¶ 79. Section V does not even so much as mention

  Groussman. And nowhere does Plaintiff allege that, as a minority shareholder in Riot, Groussman

  had any disclosure obligation to its shareholders, much less one he deliberately flouted.

         Meanwhile, the following section, Section VI.a., is comprised of irrelevant allegations

  regarding Groussman's purported involvement in companies other than Riot, years before he

  invested in Riot. Allegations regarding events pre-dating the Class Period have no bearing on




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  Plaintiff's claim here. In re Clearly Canadian Sec. Litig., 875 F. Supp. 1410, 1420 (N.D. Cal.

  1995) ("As the class period defines the time during which defendants' fraud was allegedly alive in

  the market, statements made or insider trading allegedly occurring before or after the purported

  class period are irrelevant to plaintiffs' fraud claims.").

          B.      Plaintiff Fails To Adequately Allege That Groussman Acted With Scienter

          With respect to each manipulative or deceptive act alleged to have been committed by each

  Defendant – and again, Plaintiff alleges none against Groussman – the PSLRA requires Plaintiff

  to plead "with particularity facts giving rise to a strong inference that the defendant acted with the
  required state of mind." Winer Family Trust, 503 F.3d at 335 (citing 15 U.S.C. § 78u-4(b)(2)); see

  also In re Nutrisystem, Inc. Sec. Litig., 653 F. Supp. 2d 563, 575 (E.D. Pa. 2009) (the PLSRA

  "requires the plaintiff to establish a culpable state of mind on the part of each defendant

  individually"). Determining whether an inference is "strong" involves a comparative inquiry, and

  "plausible, nonculpable explanations for the defendant's conduct" must be considered in addition

  to any inferences favoring the plaintiff. Tellabs, Inc. v. Makor Issues & Rights Ltd., 551 U.S. 308,

  323-24 (2007). An "inference of scienter must be more than merely 'reasonable' or 'permissible.'"

  Id. at 324. It must be "cogent and at least as compelling as any opposing inference one could draw

  from the facts alleged." Id.

          Plaintiff alleges no facts in Count II, much less facts with particularity, supporting a strong

  inference that Groussman committed any act with an intent to deceive, manipulate or defraud.

  Plaintiff offers no witnesses, sources, or any contemporaneous documents to show that Groussman

  was ever in league with any "group" to artificially inflate Riot's stock. See Limantour v. Cray Inc.,

  432 F. Supp. 2d 1129, 1152 (W.D. Wash. 2006) (plaintiffs failed to allege scienter because they

  alleged no witnesses or facts to support assertion that defendants intended to inflate the company's

  stock in furtherance of a pump-and-dump scheme). Plaintiff does not even allege that Groussman

  purposefully timed his trading to coincide with the trading of any member of the so-called "Honig

  Group."




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         Plaintiff's only specific reference to Groussman's purported scienter is that he was "part of

  a concerted group of associates with a close 'material relationship' outside the context of . . . being

  merely [an] owner[] of Riot stock." Amended Complaint ¶ 391. Even assuming arguendo that

  Groussman had a "material relationship" with this purported group,6 there is no allegation that

  Groussman had any fraudulent intent with respect to that purported "relationship;" that he traded

  Riot shares in concert with those other shareholders; that he had an obligation to disclose the

  purported relationship; or that he believed his trading activity was in any way unlawful. In

  evaluating scienter, "the reviewing court must ask: when the allegations are accepted as true and

  taken collectively, would a reasonable person deem the inference of scienter at least as strong as

  any opposing inference?" Tellabs, 551 U.S. at 326. Here, the facts alleged give rise to a far more

  compelling "opposing inference of nonfraudulent intent," id. at 314: that Groussman believed his

  trading strategy – which according to Plaintiff did not involve any agreement to buy, hold, or sell

  shares in concert with other Defendants – was perfectly legal.

         Unable to plead scienter with particularity, Plaintiff instead invites the Court to assume

  scienter based on allegations that Groussman was subject to an SEC investigation involving his

  investment in companies other than Riot. Plaintiff's efforts to establish scienter in this case based

  on Groussman's purported scienter in other cases fails as a matter of law. Cortina v. Anavex Life

  Scis. Corp., 2016 U.S. Dist. LEXIS 179905, *25 (S.D.N.Y. Dec. 29, 2016) ("the fact that Anavex
  had a history of involvement in stock promotion schemes does not come close to suggesting that

  Defendants had knowledge of the alleged scheme during the Class Period"); United States Football

  League v. NFL, 634 F. Supp. 1155, 1173 (S.D.N.Y. 1986) (striking allegations of prior judgments

  against defendant which would have permitted plaintiff to "create an 'aura of guilt' or to imply new

  wrongdoing from past wrongdoing.").



  6
    The group with whom Groussman allegedly had a "material relationship" includes Harvey
  Kesner, a non-defendant to this action who is not alleged to have ever been a shareholder in Riot.
  Amended Complaint ¶¶ 44, 391. Accordingly, any purported "material relationship" to a group
  that includes individuals who did not invest in Riot, and are not alleged to have engaged in any
  promotional activities in connection with Riot, is entirely irrelevant to Plaintiff's alleged "scheme."



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         Plaintiff fares no better with his bald assertion that "Defendants acted with scienter since

  they knew that the public documents and statements issued or disseminated in the name of the

  Company were materially false and/or misleading."           Amended Complaint ¶ 374.        Besides

  improperly grouping every Defendant together, the allegation has no possible application to

  Groussman, who is not alleged to have issued, or even been involved with, any document or

  statement in the name of Riot.

         Finally, to the extent Plaintiff seeks to establish Groussman's scienter through motive and

  opportunity – and he pleads no such facts as to Groussman – the Third Circuit has rejected the

  proposition that motive, even when coupled with opportunity, may give rise to a strong inference
  of scienter. "It cannot be said that, in every conceivable situation in which an individual makes a

  false or misleading statement and has a strong motive and opportunity to do so, the nonculpable

  explanations will necessarily not be more compelling than the culpable ones. And if that is true,

  then allegations of motive and opportunity are not entitled to a special, independent status."

  Institutional Inv'rs Grp. v. Avaya, Inc., 564 F.3d 242, 277 (3d Cir. 2009). Here, the inference is

  equally strong – if not stronger – that Groussman believed his fully-disclosed trading in Riot shares

  was a completely legal trading strategy. His desire to generate a profit (or minimize his losses)

  from that trading strategy does not, by itself, create a strong inference of scienter.

         C.      Plaintiff Fails To Adequately Allege Reliance

         To survive a motion to dismiss, Plaintiff must also plead reliance, subject to the heightened

  pleading standards of the PSLRA and Rule 9(b). See In re Synchronoss Sec. Litig., 705 F. Supp.

  3d 367, 397 (D.N.J. 2010). Plaintiff alleges he is entitled to a presumption of reliance under both

  Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), and the fraud-on-the-market

  doctrine. Amended Complaint ¶¶ 413-19. Neither presumption is applicable.

         The presumption of reliance recognized in Affiliated Ute requires an allegation that the

  defendant made a material omission or misstatement. See id. at 153-54. The only alleged

  representation Plaintiff attributes to Groussman is the October 13, 2017 Schedule 13G disclosing




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  Groussman's beneficial ownership of Riot common stock. As explained above, Plaintiff does not

  allege how Groussman's Schedule 13G misrepresented or omitted any material fact, as a Schedule

  13G is merely a short-form statement reporting a 5% or more stake in an issuer, acquired without

  the intent to attempt a takeover or otherwise exercise control over the company. Nor is Plaintiff

  entitled to an Affiliated Ute presumption based on Groussman's trading strategy. In the Third

  Circuit, "those engaged in manipulation have [no] duty to disclose such conduct to other market

  participants." Rabin, 712 Fed. Appx. at 194.

         Plaintiff's reliance on the "fraud-on-the-market" presumption of reliance is also unavailing.

  This presumption is based on the hypothesis that the price of a stock "in an open and developed
  securities market . . . is determined by the available material information regarding the company

  and its business."    Basic, Inc. v. Levinson, 485 U.S. 224, 241 (1988).          Accordingly, "the

  presumption is usually available only if there are material omissions or misrepresentations

  concerning an actively traded security." Rabin, 712 Fed. Appx. at 194-95. Because Plaintiff

  alleges no omission or misrepresentation attributable to Groussman, this theory of reliance is

  inapplicable.

         D.       Plaintiff Fails To Adequately Allege Loss Causation

         Loss causation is "a distinct legal element" of Rule 10b-5 claims, requiring "a causal

  connection between the material misrepresentation and the loss." In re DVI, Inc. Sec. Litig., 639

  F.3d 623, 632 (3d Cir. 2011) (quoting Dura Pharms., 544 U.S. at 342). "Although a drop in a

  security's price may be a result of the correction of a previous misrepresentation, it may also have

  been caused by changed economic circumstances, changed investor expectations, new industry-

  specific or firm-specific facts, conditions, or other events." Id. (quoting Dura, 544 U.S. at 343).

  Therefore, Plaintiff must "show that the revelation of th[e] misrepresentation or omission was a

  substantial factor in causing a decline in the security's price, thus creating an actual economic loss

  for the plaintiff." McCabe v. Ernst & Young, LLP, 494 F.3d 418, 425-26 (3d Cir. 2007). The

  requirement ensures "that the individual allegedly responsible for the misrepresentation or




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  omission does not become an insurer against all the risks associated with the investment." Id. at

  425 n.3.

         Plaintiff's mere reference to media reports (Amended Complaint ¶¶ 300, 304, 308, 321,

  338, 398-402) fails to establish loss causation. Plaintiff must show that "the share price fell

  significantly after the truth became known." See Dura, 544 U.S. at 347; see also In re Ikon Office

  Solutions, Inc. Sec. Litig., 131 F. Supp. 2d 680, 687 (E.D. Pa. 2001) (stating that to prove loss

  causation in the Third Circuit, plaintiff must show that he/she purchased a security at an inflated

  price due to the alleged misrepresentation, and that the stock price dropped in response to

  disclosure of the alleged misrepresentation). The media reports Plaintiff references reveal no new
  "truth" but involve either: (1) punditry opining on the "legitimacy" of the known fact of Riot's

  pivot to blockchain; or (2) descriptions of O'Rourke's trading activity. Not a single one of those

  articles reveals a previously undisclosed fact, let alone one concerning Groussman.

         Equally unavailing is the Complaint's reliance on three additional "disclosures:" (1) a Form

  S-3, which announced a new offering for the sale of shares and warrants and additional details

  about the Kairos transaction; (2) the April 17, 2018 10-K, which stated that the Company had

  received a subpoena from the SEC; and (3) the SEC's filing of an enforcement action against Honig

  and others arising out of alleged investments in companies other than Riot. None of these

  documents reveals any purported "falsity" concerning Groussman's investments in Riot. The Form

  S-3 merely offers to sell Riot securities to the public; Plaintiff does not allege that Riot – and

  certainly not Groussman – ever represented that the Company or its shareholders would never

  engage in public offerings. The S-3's discussion of Kairos merely details Riot's acquisition of the

  company (see RJN Ex. A) and, in any event, Plaintiff does not allege that Groussman had any role

  whatsoever in that transaction. The 2018 10-K notes that the Company received a subpoena from

  the SEC, but does not in any way reference Groussman. Further, that Riot received a subpoena

  from the SEC merely constitutes "allegations of unproven misconduct," which "is not a corrective

  disclosure which revealed" any "fraudulent conduct to the market." Martin v. GNC Holdings, Inc.,

  2017 U.S. Dist. LEXIS 145530, at *54 (W.D. Pa. Sept. 8, 2017). Similarly, the SEC's enforcement



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  action regarding companies other than Riot nowhere reveals any purported "falsity" or other

  alleged misconduct concerning Groussman's trading in Riot; it does not mention Riot whatsoever.7

          "[T]he plaintiff is required to plead that the decline in the stock price was caused by the

  market's discovery of defendant's fraud." In re Intelligroup Sec. Litig., 527 F. Supp. 2d 262, 295

  (D.N.J. 2007); see also In re DVI, Inc. Sec. Litig., 2010 U.S. Dist. LEXIS 92888, at *24-26 (D.N.J.

  Sep. 3., 2010) ("[The disclosure] must at least relate back to the misrepresentation and not to some

  other negative information about the company.") (quoting In re Williams Sec. Litig.-WCG

  Subclass, 558 F.3d 1130, 1140 (10th Cir. 2009)). None of the alleged disclosures even remotely

  relates to Groussman's alleged participation in a scheme to manipulate Riot's stock price, and thus
  does not suffice to establish loss causation.

          E.      The Amended Complaint Should Be Dismissed With Prejudice

          This action was commenced more than 19 months ago, on February 17, 2018. Dkt. No. 1.

  After this action was consolidated with another, Plaintiff filed the Consolidated Complaint on

  January 15, 2019. Dkt. No. 52. When Defendants filed motions to dismiss pointing out the various

  pleading deficiencies in the Consolidated Complaint, Plaintiff sought and received an opportunity

  to amend. Despite having been afforded an opportunity to amend the Consolidated Complaint,

  and more than a year to further investigate the facts and the law, Plaintiff still cannot plead a viable

  claim against Groussman. This is true even with the added benefit of information gathered and

  made public in numerous media reports, the SEC subpoena disclosed by Riot in its May 17, 2018

  10-Q (Amended Complaint ¶ 350), and motions to dismiss the Consolidated Complaint.

          Despite all of that guidance and time, nowhere in the overlong 440 paragraph, 159 page

  Amended Complaint does Plaintiff plead relevant conduct by Groussman to suggest that he was

  in any way involved in an alleged stock manipulation scheme. Because the legal defects in the

  Amended Complaint cannot be cured, and because Groussman would be unduly prejudiced by


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   While the SEC's complaint refers to the companies at issue as only "Company A," "Company B,"
  and "Company C," the Amended Complaint identifies the three companies as "'Company A'
  (Biozone), 'Company B' (MGT), and 'Company C' (MabVax)." Amended Complaint ¶ 81.



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  having to respond to yet another pleading in this case, Count II should be dismissed as to

  Groussman with prejudice. See Krantz v. Prudential Invest. Fund Mgmt. LLC, 305 F.3d 140, 144

  (3d Cir. 2002) (affirming denial of leave to amend where plaintiff was on notice of potential defects

  in complaint from motions to dismiss); In re Alpharma Inc. Sec. Litig., 372 F.3d 137, 153-54 (3d

  Cir. 2004) (affirming denial of leave to amend where plaintiffs had filed previous complaints and

  been given an extension to file a consolidated complaint); In re NAHC, Inc. Sec. Litig., 306 F.3d

  1314, 1332-33 (3d Cir. 2002) (affirming denial of leave to amend and quoting with approval

  district court's observation that PSLRA's objective would be thwarted if "plaintiffs were liberally

  permitted leave to amend").

         V.      CONCLUSION

         For the foregoing reasons, the Court should dismiss Count II of the Amended Complaint

  with prejudice for failure to state a claim pursuant to Rules of Civil Procedure 9(b) and 12(b)(6),

  and the PSRLA.



  Dated: September 30, 2019

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